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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                   www.flsb.uscourts.gov
                                                       CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                    Original Plan
                         ■   2nd                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Iliet Berbil                                          JOINT DEBTOR:                                        CASE NO.: 21-18842
SS#: xxx-xx- 6076                                               SS#: xxx-xx-
I.          NOTICES
            To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                be reduced, modified or eliminated.
            To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                        Included            ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                        Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section IX                                                                     ■   Included                Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $262.92                    for months   1       to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                       NONE    PRO BONO
        Total Fees:                $4,650.00               Total Paid:               $140.00           Balance Due:          $4,510.00
        Payable              $75.17            /month (Months 1           to 60 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $4,650.00 Safe Harbor Attorney Fees and Costs (Bankruptcy)

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS                                  NONE
            A. SECURED CLAIMS:                     ■   NONE
            B. VALUATION OF COLLATERAL:                          ■      NONE
            C. LIEN AVOIDANCE                  ■   NONE
            D. SURRENDER OF COLLATERAL:                             ■    NONE
            E. DIRECT PAYMENTS                           NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
                 ■ The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                    confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                    codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                        Name of Creditor                     Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)


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                                                                              Debtor(s): Iliet Berbil                            Case number: 21-18842

                             Name of Creditor                  Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Chase Auto Finance                0807                         2017 Kia Sorrento VIN 5XYPG4A35HG262211
                        1.
                             Imperial Lake HOA                 1973                                930 NW 123rd Court, Miami, Florida 33182
                        2.
                             PHH Mortgage Services             1787                                930 NW 123rd Court, Miami, Florida 33182
                        3.
                           Shoma Homes at Imperial             7014                                930 NW 123rd Court, Miami, Florida 33182
                        4. Lakes HOA

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                   ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                  NONE
               A. Pay               $161.46       /month (Months       1      to 60 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                        ■   NONE
VI.         STUDENT LOAN PROGRAM                           ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                           ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:                                  NONE
                    ■        The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                             annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                             Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                             provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                             increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  The debtor will modify the plan to provide for the distribution of funds recovered from his pending lawsuit which are not exempt
                 to the unsecured creditors
                  Mortgage Modification Mediation


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                  Debtor                                                                  Joint Debtor
  Iliet Berbil                                                        Date                                                                      Date



  /s/                                                 12/10/2021
    Attorney with permission to sign on                         Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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